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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 23-61354-CV-MIDDLEBROOKS

  PROGRESSIVE EXPRESS
  INSURANCE COMPANY,

          Plaintiff,
  V.

  RASIER-DC, LLC, UBER TECHNOLOGIES,
  INC., and KARINA MONASTERIO,

          Defendants.
  ________________./
                                         FINAL JUDGMENT

          THIS CAUSE comes before the Court upon the Court's Order on Motion for Summary

   Judgment. (DE 52). Consistent with those Orders and pursuant to Federal Rule of Civil Procedure

   58, final judgment is entered as set forth below.

          It is hereby ORDERED AND ADJUDGED that:

          1) Final Judgment is ENTERED in favor of Plaintiff Progressive Express Insurance

              Company and against Defendants Rasier-DC, LLC, Uber Technologies, Inc., and

              Karina Monasterio on all claims brought in Plaintiff's Amended Complaint. (DE 12).

          2) Consistent with the Order on Summary Judgment (DE 53), Plaintiff's Claim for

              Declaratory Judgment is adjudged as follows:

                  (a) Fla. Stat. § 627.748 does not mandate that Progressive Express Insurance

                       Company provide uninsured and underinsured motor vehicle insurance

                       coverage in the Transportation Network Company Commercial Auto Policy,

                       Policy Number 06250110-8;
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               (b) Progressive Express Insurance Company complied with its obligation under

                   Fla. Stat. § 627.727(2) to make available, as part of the application for the

                   Transportation Network Company Commercial Auto Policy, Policy Number

                   06250110-8, uninsured and underinsured motor vehicle insurance coverage.

               (c) Progressive Express Insurance Company's Transportation Network Company

                   Commercial Auto Policy, Policy Number 06250110-8, does not provide

                   underinsured and underinsured motor vehicle insurance coverage.

         SIGNED in Chambers at West Palm Beach, Florida, this2;?ay of      arch, 024.




                                                           Donald M. Middlebrooks
                                                           United States District Judge
   cc:   Counsel of Record




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